          1   I Geoffrey C. Angel
                                              •                                        •
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                                                                                                      A~IGIE SPARKS
                                                                                                  CLERK DISTRICT COURT
               ANGEL LA \V FIRM
          2    803 West Babcock                                                                    Zrn7 ,:,,: : ,.t
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               Bozeman, Montana 59715


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               Facsimile (406) 922-2211
          4    christianangel@hotmail.com                                                          BY       :,~""', \ ; . , ~
          5    Attorney for Plaintiffs

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          7
                 MONTANA FIRST JUDICIAL DISTRICT COURT, LEWIS AND CLARK COUNTY
         8
               KATHERINEDILLON,                                 )    CauseNumb5nY-X           \:30\1-- \0i
         9     individually and on behalf of
               all others similarly situated,
                                                                )
                                                                )
                                                                                        C,V , l1-.(t CJ - µ
                                                                     CLASS ACTION COMPLAINT aud
                                                                                                                         _,-tc.,v
     10                                                         )
                         Plaintiffs,                            )    UNFAIR TRADE PRACTICES ACT
     11.                                                        )
                         vs.                       )                 DEMAND FOR JURY TRIAL
     12                                            )
               PROGRESSIVE CORPORATION,            )
     13        and its subsidiaries and affiliates )                       MICHAEL F MCMAHON
               including PROGRESSIVE CASUAL TY )                            PRESIDING JUDGE
     14        INSURANCE COMPANY, ARTISAN          )
               AND TRUCKERS CASUALTY               )
     15        COMPANY, all doing business as      )
               PROGRESSIVE®,                       )
     16                                            )
                        Defendants.                )
     17
                         COMES NOW plaintiff Katherine Dillon, individually and on behalf of all others
     18
              similarly situated, by and through their counsel of record Geoffrey C. Angel, and for their claims
     19
              for relief allege as follows:
     20
                                                        NATURE OF ACTION
     21
                    I.           This action is being brought by Katherine Dillon, individually and on behalf of all
     22
                                 others similarly situated, against Progressive Corporation and its subsidiaries and
    23
                                 affiliates in Montana including Progressive Casualty Insurance Company and
    24
                                 Artisan and Truckers Casualty Company for bad faith insurance practices under
    25
                                 Montana's Unfair Trade Practices Act.
    26

    27
                    2.           At all times relevant herein Katherine Dillon was a resident and domicile of
    28
                                 Gallatin County, Montana.

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                        Progressive Corporation (Progressive) is an Ohio Corporation with its principle

 2                      place of business in Ohio.

 3

 4           4.         Progressive Corporation is the Parent Corporation of a number of subsidiaries and

 5                      affiliates who insure motor vehicles in Montana and the various states and who

 6                      are subject to the laws of the state of Montana due to the adjustment of losses

 7                      within this state.

 8

 9           5.         Progressive operates in Montana under a number of subsidiaries and affiliates

10                      including Progressive Advanced Insurance Company, Progressive Casualty

11                      Insurance Company Direct Insurance Company, Progressive Classic Insurance

12                      Company, Progressive Commercial Insurm1ce Company, Progressive Direct

13                      Insurance Compm1y, Progressive Max Insurance Company, Progressive Northern

14                      Insurance Company, Progressive Northwestern Insurance Company, Progressive

15                      Preferred Insurance Company, Progressive Specialty Insurance Company and

16                      Progressive West Insurance Company among others.

17

18           6.        Progressive Corporation also operates in the various states other than Montana

19                      under a number of subsidiary and affiliates who are subject to the laws of the state

20                     of Montana due to losses that occur here and are adjusted by Progressive within

21                      Montana including Artisan and Truckers Casualty Insurance Company mnong

22                      others.

23

24           7.         This action seeks to redress Progressive's adjusting practices on behalf of all of its

25                     subsidiaries and affiliates, for losses that occurred in Montana or are otherwise

26                      subject to the insurance laws of the state of Montana.

27

28


     Cl.ASS ACJ"IO~ COMPLAINT ANU DEMAl'iD FOR JURY TRIAL;                                    PAGF.20F9.
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                             Progressive has a system wide adjusting practice in Montana to refuse to pay the
     2                       full measure for loss of use damages for vehicles damaged in Montana or under a
     3                       Montana policy of insurance.

     4

     5            9.         Progressive systematically pays or offers to pay, not the reasonable rental value of
     6                       a comparable vehicle, as required by Montana law but instead pays its
     7                       "sweathcart" rate with Enterprise Rent A Car which is a rate well below the daily
 8                           rental value of a comparable vehicle.

 9

10              I 0.         In 2009 Montana's Commissioner of Securities and Insurance issued an Advisory
11                          Memorandum, which carries the weight of law, regarding the proper measure of
12                          loss of use damages.

13

14              11.         "With regard lo loss of use of personal property, the measure of damages is the
15                          reasonable rental valne of comparable property for the period of time
16                          necessary to repair or replace the damaged property regardless of whether or not a
17                          rental was obtained." Letter Monica Lindeen to Property and Casualty Insurers
18                          and Licensed Adjusters dated March 16, 2009, Exhibit A.
19

20              12.         The "reasonable rental value of a comparable vehicle means the rental value of a
21                          vehicle of like kind and quality from the time of loss until the damaged vehicle
22                          is repaired." Id
23

24             13.          Instead of paying the fair market value of a comparable vehicle Progressive pays
25                          or offers to pay a reduced rate based on its private negotiated rate with just one
26                          national rental car agency, Enterprise Rent A Car, which is far below the
27                          reasonable rental value of a comparable vehicle.
28



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                                                                                       •
                             In this case, a comparable vehicle, a Luxury SUV, rents for $229 per day at the
     2                       cheapest rental agency in the Bozeman area and yet Progressive claims it has
     3                       negotiated a sweetheart rate of$54.99 per day with Enterprise Rent A Car. The
     4                       difference withheld by Progressive in this single property damage claim is
     5                       $3,132.18 See Expedia Car Rental Rates for Bozeman, Exhibit B.
     6

     7           15.         Progressive denied the fair market reasonable rental value of a comparable vehicle
     8                       based upon its institutional practice to pay only the sweetheart rate '"guaranteed
     9                       rate by Enterprise Rent A Car" when Progressive actually rents a vehicle from
10                           Enterprise. Letter Progressive      lo   Angel dated March 25, 2015, Exhibit C.
11

12              16.          In this case Progressive did not provide Katherine Dillon with a rental vehicle
13                           from Enterprise at its sweetheart below market rate and it cannot rely on this
14                          reduced rate to measure the fair market reasonable rental value when calculating
15                          loss of use. The result of such a practice in this case alone resulted in an
16                          underpayment of$3,132.18.
17

18              17.         On March 1, 2015 Katherine Dillon was traveling West along Tschache Lane in
19                          Bozeman on dry clear roads when Progressive's insured pulled out of a parking
20                          lot and !-boned Mrs. Dillon's vehicle.
21

22              18.         Mr. Dillon used the vehicle the day following the accident to drive to work but
23                          didn't use it for anything else once he noticed significant alignment issues which
24                          appeared to make it unsafe to drive.
25

26             19.          Mr. Dillon then took the vehicle for a repair estimate after which they were told
27                          not to drive the vehicle due to safety issues.
28



         CLASS ACTIOJ\· COMPLAINT AND DEMAND FOR .Jt:RY TRIAL;
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                             Mrs. Dillon suffered the loss of use of her Hummer H3 up to and during the time
     2                       it was being repaired.

     3

     4           21.         Mrs. Dillon and Progressive agreed the loss of use was from the date of the
     5                       accident through March 18, 2015 or for 18 days.
     6

     7          22.         Mrs. Dillon made a demand for loss of use damages from Progressive at the
     8                      market rental rate m1d in turn Progressive paid her not the fair market value of a
     9                      comparable vehicle but based on its sweatheart rate with Enterprise Rent A Car.
10

11              23.         Progressive refused to negotiate but paid according to its institutional policy
12                          which violates Montana law.
13

14              24.         Pursuant to Section 25-10-303, Montana Code Annotated, Katherine Dillon made
15                          a written request for Progressive to make an offer to resolve this property danrnge
16                          only claim.

17

18              25.         Progressive offered $ 100 to resolve the dispute after having a "management team"
19                          review the policy which it determined to rely on to deny any fUither payments.
20

21                                                   APPLICABLE STATE LAW

22             26.         Plaintiffs claim is being brought pursuant to Montana's Unfair Trade Practices
23                         Act§§ 33-18-201, et seq.
24

25                                       COUNT-I-UNFAIR TRADE PRACTICES ACT

26             27.         Plaintiff realleges and incorporates by reference paragraphs I through 26 as if
27                         fully set forth herein.
28



         CLASS ACTION COMPLAINT AND DuU.NO FOR JU-t\' TRIAL;
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                             Plaintiff is entitled to damages due to an insured loss.
     2

     3           29.         Defendant has made a general business practice of violating the Unfair Claim
     4                       Settlement Practices provisions of MONT. CODE ANN. §§ 33-18-101 et. seq.
     5

     6           30.         Defendant misrepresented pertinent facts or insurance policy provisions in direct
     7                       violation of MONT. CODE ANN.§ 33-18-201(1).
     8

     9          31.          Defendant refused to pay claims without conducting a reasonable investigation
10                           based upon all available information in direct violation of MONT. CODE ANN. §
11                           33-18-201(4).

12

13              32.         Defendant's conduct in dealing with Plaintiffs claim has been dilatory in direct
14                          violation of MONT. CODE ANN.§§ 33-18-201(6).
15

16              "
                _.,.).      Defendant is guilty of actual malice and actual fraud as defined in Mo>1T. CODE
17                          ANN. Ii§ 27-1-220 and 221.
18

19              34.         Defendant had actual knowledge that its failure to comply with the provisions of
20                          MONT. CODE ANN. § 33-18-201 would create a high probability of injury to
21                          Plaintiff and yet continued to act deliberately in conscious or intentional disregard.
22                          Defendant misrepresented the insurance policy to Plaintiffs detriment.
23

24                                         PLAINTIFF CLASS ACTION ALLEGATIONS

25             35.         Plaintiff realleges and incorporates by reference paragraphs 1 through 34 as if
26                         fully set forth herein. This class action is under Montana Rule of Civil Procedure
27                         23(a), 23(b)(l), and 23(b)(2).
28



         CLASS ACTIOi\' COMPLAINT AND DEMAND FOR JURY TRIAi.;
                                                                                                 PAGE 6 OF 9.
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                           Class Description. The class of plaintiffs in this case is described as: all claimants

  2                        entitled to loss of use damages in which Progressive paid or offered to pay based

  3                        upon its negotiated rates rather than the market rates for a comparable vehicle.

  4

  5            37.         Unfair Trade Practices Act. Defendant violated the Unfair Trade Practices Act in

  6                        the manner and under the same facts for each class members as described for

  7                        Plaintiff above.

  8

  9            38.         Time Limit. The class includes all claims made within eight years of the date of
10                         filing the complaint because plaintiff, and each class member, is an intended
11                         beneficiary of a written contract.

12

13             39.         Geographic Limit. The class includes all Montana Auto Policies and other state
14 ,i                      policies adjusted according to Montana law under the class description and within
15                         the time limit described above.

16

17            40.          Damages. Plaintiff and each class member received loss of use damages based on
18                         a below market rental rate rather than the required measure which is the fair
19                         market reasonable rental value for the time required to repair their vehicle.
20

21            41.         Numerositv of Class. The class is so numerous thatjoinder of the members is
22                        impractical. The frequency and persistence of Defendants' acts are so widespread
23                        that j oinder of all members of the class is impracticable.

24

25            42.         Commonality of Questions. This lawsuit challenges Progressive' s refusal to
26                        honor its legal obligation to pay loss of use based upon the fair market reasonable
27                        rental value of a similar vehicle.

28



        CL.\SS ACTION COMPLAINT AND DE.\1AND FOR JURY TRIAL;                                    PAGE 7 OF 9.
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                            Typicalitv of Claims. Plaintiff is a member of the class, and her claim is typical of

 2                          all Class Members.

 3

 4           44.            Adequacy of Representation. Named Plaintiff is a member of the class and has

 5                          suffered a violation of her rights at the hands of Defendant. Plaintiff is

 6                          represented by competent counsel with experience in class actions and counsel

 7                          will fairly and adequately protect the interests of the class. Plaintiff and counsel

 8                          have adequate resources to maintain the class action.

 9

10           45.            Consistency of Adjudication. The class is large in number and widely disbursed.

11                          The prosecution of separate actions by fewer than all members of the class would

12                          create a risk of inconsistent or varying adjudications with respect to individual

13                          members of the class which would establish incompatible standards for

14                          enforcement and which, as a practical matter, would dispose of the interests of the

15                          other Class Members not parties to this adjudication or would substantially impair

16                          or impede their ability to protect their interests.

17

18           46.            Class Wide Relief Defendants have acted and continue to act on grounds

19                          generally applicable to the class, making final class \vife relief appropriate.

20

21           47.            Superioritv of Class Action. The questions oflaw and fact common to the

22                          members of the class predominate over any questions affecting only individual

23                          members and a class action is superior to any other available method for fair and

24                          efficient adjudication of the controversy.

25

26           48.            Modification of Class Action Allegations. As further infonnation is gathered,

27                          Plaintiff may modify the paragraphs in this §in an anticipated class certification

28                          motion and brief in support.


     CLASS   Arnur,;   COMPLAINT A.'\!D DEMAND FOR Jt.:R\' TRIAL;                                  l-'AGE8or9.
     1               I.
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                                 WHEREFORE, the plaintiff prays for judgment:
                                                                                     •
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     2

     3               2,          An amount for all special damages for Defendant's bad faith practices in violation
     4                           of Montana's Unfair Trade Practices Act.
     5

     6              3.           Punitive damages due to Defendant's fraudulent and malicious conduct in
     7                          violating Montana's Unfair Trade Practices Act.
     8

     9              4.          Costs, including reasonable attorney fees under Section 27-1-306, MCA, and
 10                             under the equitable powers to be made whole.
 11

 12                                                  DEMAND FOR TRIAL BY JURY
 13                  Plaintiff demands trial by jury on all issues of this action.
14

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